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                  IN THE UNITED STATES DISTRICT COURT FOR
                            EASTERN DISTRICT OF VIRGINIA

                                                                                   CLURK, n.S. DISTPir'T ^P'"Rf
                                       Alexandria Division                            ALEXAim. i,A. Vi't-'iuJAiiA



UNITED STATES OF AMERICA                                             No.: I:22:CR-00123


               V.                                                AFFIDAVIT IN SUPPORT
                                                                    OF REQUEST FOR
EBUKA RAPHAEL UMETI                                                   EXTRADITION




       I, Scott W.Nickerson, being duly sworn, hereby depose and state:

       1.      I am a citizen of the United States and a resident of the State of Virginia.

       2.      I have been a Special Agent with the Federal Bureau of Investigation (FBI)for

over eleven years and am currently assigned to the Washington Field Office. As a Special Agent

assigned to a cyber squad, I have received training in, and am authorized to investigate crimes

involving computers and computer intrusions, including cyber-enabled fraud scams. I am thus a

federal law enforcement officer, as defined by Fed. R. Crim. P. 41(a)(2)(C). Before working at

the Washington Field Office, I was a Program Manager at FBI Cyber Headquarters, where I

oversaw cyber intrusion investigations at the strategic level.

       3.      The FBI is one of the agencies within the United States government responsible

for the enforcement offederal criminal law. As an agent with FBI, I have received training

relating to the investigation offraud, computer hacking, and the use of computers to facilitate

fraud offenses.


       4.      I am one of the agents assigned to the investigation of the elaborate fraudulent

activities ofEBUKA RAPHAEL UMETI,also known as "Ebuka Rapheal Umeti," and variations

on the online monikers or nicknames "jm.collins," "eternal," and "ebus"(UMETI), and his co-

conspirators, including Franklin Ifeanyichukwa Okwonna (Okwonna). I am familiar with the


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charges and evidence in this case. The facts set forth in this affidavit are based on my personal

knowledge, information supplied to me by other law enforcement personnel, and other sources of

information. I am familiar with all aspects ofthis investigation. The following is a summary of

the evidence lawfully obtained during this investigation and does not reflect my entire

knowledge ofthe investigation. In addition, the evidence discussed in this affidavit does not

represent all ofthe evidence collected during the investigation.

                                        BACKGROUND


       5.      Beginning at least in February 2016, and continuing through at least July 2021,

UMETI,Okwonna,and others, including Co-Defendant-3, Co-Conspirator-1, Co-Conspirator-2,^
conspired and agreed to unlawfully enrich themselves by engaging in business email

compromise scams(EEC scams). They gained unauthorized access to the computers of

businesses located in the United States and elsewhere, including businesses located in the

Eastern District of Virginia, and exploited that access to deceive victims into transferring

millions of dollars from their bank accounts. To gain unauthorized access to victim systems,

UMETI,Okwonna,and others also routinely damaged victim computers by delivering malicious

software or malware.^

                                       Overview of Scheme


       6.      Records and information obtained from numerous victims, the forensic

examination of victim devices, and warrants to search dozens of accounts that UMETI,


^ Co-Conspirator-1 and Co-Conspirator-2 are known by online monikers and identified as
unnamed co-conspirators in the Indictment. Co-Defendant-3 is a charged co-defendant whose
information is redacted from the Indictment. Premature disclosure ofthe identifiers for these three
individuals would threaten the ability of the United States to identify, locate and arrest them and
may lead to their destruction or concealment ofevidence.
^ "Malware" was software designed to disrupt computer operations, gather sensitive information,
gain unauthorized access to a computer, or perform other unauthorized actions on a computer.
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Okwonna, Co-Defendant-3 and other co-conspirators controlled with email, cloud, and

messaging service providers, among other sources, collectively reveal that the co-conspirators

pursued a sustained and sophisticated computer hacking and BEC scheme that began at least as

early as February 2016.

       7.      As part ofthe scheme, UMETI,Okwonna, and their co-conspirators transmitted

phishing emails^ to victim businesses that were made to falsely appear as though they originated

from trusted individuals, such as employees at one ofthe victim's trusted vendors. The

defendants and their co-conspirators' phishing attacks often caused the deployment of malicious

scripts that gave them unauthorized access to victim computer systems and email accounts. For

instance, records obtained pursuant to warrants on the accounts of UMETI,Okwonna,and other

co-conspirators at the gaming and messaging platform Discord and the hacking and

cybersecurity forum HackForums.net reveal that their phishing emails often attached malicious

Microsoft Excel or Word documents—often described as "Macros"^—^that could then be used to

deliver additional malware that provided the defendants and their co-conspirators remote access

to the victim devices.


       8.      The defendants and their co-conspirators then exploited that access to obtain

sensitive information needed to deceive victim companies into executing unauthorized wire

transfers, including by establishing email processing rules to forward emails automatically from




^ "Email phishing" or "malware spam" was a fraudulent attempt to install malware by posing as a
trustworthy entity in an electronic communication.
^ A "macro" was an automated input sequence that imitates keystrokes or mouse actions. A macro
was typically used to replace a repetitive series of keyboard and mouse actions and used often in
spreadsheets and word processing applications, such as Microsoft Excel and Microsoft Word. A
"macro malware" was malicious computer code written in the same language used to create the
software program, such as Microsoft Word or Excel.
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victim employee email accounts to accounts controlled by the defendants and their co-

conspirators, without the knowledge or involvement of employees ofthe victim companies.

       9.      UMETI, Okwonna, and their co-conspirators then devised, executed, and

facilitated DEC scams by impersonating trusted individuals, such as accounts receivable or

accounts payable specialists at victim businesses or their corporate partners, in emails and phone

calls that fraudulently directed employees of U.S. businesses and banks to wire transfer funds to

accounts specified by the defendants and their co-conspirators. The co-conspirators employed

several techniques for impersonating trusted individuals, including by sending emails from a

trusted individual's compromised account, email spoofing, and creating and using email

accounts that closely resembled the individual's account.

       UMETL Okwonna and Others Execute BEC and Computer Hacking Schemes

       10.     Records lawfully obtained from a domain registrar, Namecheap,the electronic

communications service providers Google, Oath Holdings, Inc.(Yahoo), Discord, HackForums,

and Dingtone, among others, reveal that UMETI controlled or used a range of online accounts

associated with various online monikers to include "jm.collins" and "eternal" that were involved

in gaining unauthorized access to victim computer systems and perpetrating and attempting to

perpetrate a large volume of BEC scams. Some ofthe victims impacted by the co-conspirators'

scheme include:


                    Victim Entities                         Approximate Actual or Attempted^
                                                                       Losses(USD) I I
  An intemational wholesaler that was located in New                     $571,274''
   York (referred to as"Company A" in Indictment)^

^ Victims were sometimes able to recoup the stolen funds after the fraudulent wire transfers.
® The victims' names have been withheld to protect their privacy. Consistent with U.S. law,
UMETI will be informed oftheir identities prior to trial.
^ All references to currency are in U.S. dollars unless otherwise indicated.
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   A metal supplier located in Texas("Company B")                    $400,385.84

    An information services company that was then                     $109,308
  located in Virginia("Company C")and a consulting
  company located in Massachusetts("Company D")
     A restaurant chain that was located in Florida                  $482,676.49
  ("Company E")and a food services company that
         was located in Ohio("Company F").
       A home builder in Texas("Company G")                          $25,426.08

      A manufacturing company located in Ohio                        $1,204,734
     ("Company H"), a manufacturing company
   headquartered in Virginia("Company I"), and an
    electronics manufacturing company located in
               Arizona("Company J")
     A marine supply company located in Virginia                       $7,629
                   ("Company K")
                                                                                     : 1
     An energy equipment and solutions company
   headquartered in North Carolina("Company L")

                           Scheme to Defraud Companies H.I. and J

       11.    Records, information, and statements provided by Companies H,I and J, the

FBI's forensic analysis ofthe computer of an accounts receivable and credit management

specialist(Employee-1)at Company H,and records from online accounts used by the co-

conspirators, collectively reveal that UMETI,Okwonna,and other co-conspirators participated in

a EEC scheme to defraud Companies H,I and J from in or around May 2020 through in or

around July 2020. As part ofthe scheme,the co-conspirators transmitted phishing emails and

other messages to Employee-1's email account at Company H and gained unauthorized access to

the employee's email account and computer. UMETI and his co-conspirators then used

information gleaned from the employee's email account to send emails and make phone calls to

two of Company H's corporate partners that deceived them into authorizing wire transfers to

bank accounts specified by the co-conspirators. Specifically, Company I and Company J were
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deceived into initiating bank transfers to the co-conspirators totaling more than $1.1 million.

Company I and Company J had intended to transfer the money to Company H.

       12.     UMETI's central role in the execution of this scheme is demonstrated through

evidence developed by the FBI indicating that various online accounts controlled or used by him

were involved in both gaining unauthorized access to Employee-1's email account and device,

and then defrauding the victims. As an initial matter, a warrant to search a Discord account

controlled and used by UMETI(usemame "eternal101#0438")revealed multiple instances in

which he discussed the use ofcomputer infrastructure involved in hacking into Employee-I's

email account and deploying malware to the employee's device. For instance, on or about May

4,2020, UMETI's etemall01#0438 Discord account sent private Discord messages to obtain

information needed to access a certain email server. The FBI's forensic analysis of

Employee-I's computer, in tum,shows that the actors involved in perpetrating the attack used

that same email server on that same day to transmit a phishing email to Employee-1 of

Company H that attached a Microsoft Excel spreadsheet called "Remittance Details.xlsm"

containing malicious computer code. The FBI's analysis ofthe code reveals that it was designed

to cause unauthorized actions on the employee's computer, including to download a file that

would, in tum, download malware from a specified Intemet Protocol(IP) address.

       13.     Further, on or about May 11,2020, UMETI's etemall01#0438 Discord account

discussed hosting the name of a particular file (e-remit.vbs file) on a co-conspirator server that

had been downloaded onto Employee-1's computer on the day ofthe prior phishing attack

(May 4,2020). On or about May 19 and 20,2020, UMETI's etemall01#0438 Discord account

also sent Discord private messages to obtain information needed to access a certain email server

and shared that information with a co-conspirator (Co-Conspirator-1 in the Indictment).
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Employee-I's device, in turn, shows that an actor involved in the scheme used that email server

to transmit a phishing email to Employee-1 of Company H on or about May 26,2020. This

email attached malicious computer code in a Microsoft Excel spreadsheet that was designed to

cause unauthorized actions on the computer of Employee-1, including to download a file that

would then, in turn, download malware to the employee's computer.

        14.    In addition, after UMETI gained access to Employee-I's email account, one or

more co-conspirators then configured rules within Employee-1's mailbox to hide, move,forward

or delete messages automatically without the employee's knowledge. The actor(s) also created

filters for segregating emails of interest, including filters tied to the names of certain employees

at Company H and other terms that could facilitate future fraud schemes. One of the rules that

the actors established was designed to automatically forward the filtered emails to an email

address,"jm.collins001@protonmail.com," that the FBI has attributed to UMETI.

        15.    Records received from Company H show that, on or about May 14,2020, at least

one co-conspirator used the email account of Employee-1 of Company H to send emails to

Company J and Company I in which the co-conspirators impersonated Employee-1, and

requested that Company J and Company I change the bank account information they used to

make payment to Company H. The emails and accompanying email attachments listed telephone

numbers that were controlled by an account with a Voice Over Internet Protocol or VoIP

account^ with Dingtone(VoIP Account-1 in Indictment)that has been attributed to UMETI.




® "Voice Over Internet Protocol" or"VoIP" was the transmission of voice and multimedia content
over an Internet connection. VoIP allowed users to make voice calls from a computer,smartphone,
and other mobile devices. A VoIP account could be assigned multiple virtual numbers that could
be used for routing voice calls to or from a user's VoIP account.
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Notably, records from Dingtone reveal that VoIP Account-1 was registered with an email

address,"jm.collins200@icloudxom," that incorporates UMETI's distinctive moniker.

       16,     In addition, to obscure and delay the detection ofthe fraud by Company H and its

corporate partners as it occurred, one or more co-conspirators sent a series of emails to

Company H concerning payment issues in or around May 2020 and in or around June 2020 that

falsely purported to be sent from an email address that Company I's parent company in the

United Kingdom used to verify transactions. These emails were sent by the co-conspirators from

compromised email accounts belonging to third-party corporations that used email servers in the

Eastern District of Virginia, including at least three emails that were sent from an email account

controlled by a company located in Ohio(Compromised Email Account-1)on or about June 16,

2020 and on or about June 22,2020. Records received from BitPay, a U.S.-based payment

service provider, indicate that the user of UMETI'sjm.collins001@protonmail.com account

made a payment to Namecheap for a domain registrar account(Namecheap Account-2 in the

Indictment)to register a spoofed domain that closely resembled Company I's legitimate domain.

Records received from Namecheap and the victim show that the spoofed domain was then used

to host an email account used by the co-conspirators to receive replies to the emails sent from the

Compromised Email Account-1 on or about June 22,2020. The spoofed domain was falsely

registered with the name "Cassidy Banks" with a mailing address in Hercules, California.

        17.    The FBI has also uncovered additional evidence tying UMETI's co-conspirators,

including Okwonna,to the execution ofthis scheme. For instance, the FBI's forensic

examination of Employee-I's laptop revealed evidence of a friend request from "Ifeanyi

Chukwu," which closely mirrors Okwonna's middle name. In relevant part, the text stated

"https://www.faceboo.. Ifeanyi Chukwu sent you a friend requ [sic]." Further, another memory
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fragment included a phrase that incorporated the online moniker of Co-Conspirator-2 and a

reference to a remote monitoring service named "Myq-see." In addition, on or about June 11 and

June 12, 2020, at least one co-conspirator transmitted two phishing emails that contained

malicious code modified by Co-Defendant-3 to Employee-1 of Company H. The emails attached

different Microsoft Excel spreadsheets that both contained code designed to cause unauthorized

actions on a recipient computer, including the unauthorized download of a file that, in turn, was

coded to download another file named "Attack.jpg" from a specified IP address.

                             Scheme to Defraud Companies E and F

       18.     Records and information obtained from Company E and warrants to search email

and domain registrar accounts associated with UMETI and his co-conspirators reveal that they

executed a BEC scam to defraud Company E in or around July 2019. As part of the scheme,the

co-conspirators gained unauthorized access to an employee at Company E(Employee-2)and

deceived the company into initiating the transfer of approximately $482,676.49 to a bank

account that they specified. Company E had intended to transfer the money to Company F.

        19.    The role of UMETI and his co-conspirators is demonstrated through multiple

ways. As an initial matter, a forensic reported prepared at the request of Company E concluded
that the actor(s)first gained unauthorized access to the account of Employee-2's email account

through an email phishing attack that included an Excel file macro that was made to appear like a

payment notification from Bank of America and then deployed malware suited to maintaining

remote access to a victim device. The email phishing attack was transmitted from the email

address "cassbanksl01@gmail.com," which was used to register above-described Namecheap

Account-2. The method and tools associated with this attack are notable because, among other

things, records received from Discord and HackPorums reveal that UMETI's eternal10I#0438
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 Discord account and HackForums account(usemame "eternal101")routinely discussed using

 those techniques and tools. The actions also mimicked the distinctive techniques of UMETI and

 his actors, including in the scheme to defraud Companies H,I and J. Indeed, as in that instance,

 a warrant to search a co-conspirator account with Yahoo,"invoice_s231@yahoo.com," revealed

 that emails were forwarded from Employee-2's email account to that co-conspirator account.

        20.    In addition, as part of the scheme,in or around July 2019,the actor(s) used

 Namecheap Account-2 to register two spoof domains and associated email and hosting services

 that closely mimicked the legitimate domains of Company E and Company F. The actor(s)then

 used an email address at one ofthe spoofed domains to impersonate an executive of Company F

 in emails to Company E that deceived Company E into changing the bank account information

 that it used to transmit payment to Company F. This activity is notable because a warrant to

 search yet another account controlled by UMETI,"jm.collinsl00@yahoo.com," reveals that he

 contemporaneously sent emails to email address hosted at the spoof domains for Company E and

 Company F in an apparent effort to test its operation.

                           Schemes to Defraud Companies A. B. and K


        21.     The FBI's investigation reveals that accounts attributed to UMETI were directly

 involved in additional EEC scams that resembled the ones described above, including the

 schemes to defraud Companies A,B,and K.

        22.     As an initial matter, records and information provided by Company A indicates

 that actor(s) gained unauthorized to the email account of an employee at Company A (Employee-

 3)and used Employee-3's Junk folder to surreptitiously transmit fraudulent emails from the

 legitimate employee account to corporate partners in January and February 2018. Further, as

 part ofthe scheme,the actor(s) impersonated another Company A employee in a series ofemails




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 to Employee-3 and another Company A employee(Empioyee-4) directing them to fraudulently

 pay approximately $571,274 owed to a corporate partner to an account specified by the actor(s)

 on or about January 19,2018.

        23.     The role of UMETI and Okwoima in this scheme is demonstrated through

 multiple ways. First, a warrant to search UMETI'sjm.collinslOO@yahoo.com reveals that it

 received an email forward from Employee-3's email account of an apparent phishing email that

 Employee 3 had received. UMETI'sjm.collinslOO@yahoo.com then further forwarded the

 apparent phishing email to email addresses attributed to Okworma. Under the circumst^ces,

 and in my training and experience,the email forward indicates that UMETI,Okwonna or

 someone acting in concert with them had gained unauthorized access to the employee's account.

 The timing ofthe forward was notable because it took place one day before Company A was

 deceived into transferring approximately $571,274 to an account specified by the co-

 conspirators. Second, on or about February 5,2019, UMETI,usingjm.collinslOO@yahoo.com,

 appears to have transmitted additional phishing emails to Employee-4 of Company A in an

 apparent effort to gain further access to that employee account.

        24.     Similarly, records received from Company B reveal that, in or around 2018, one

 or more actor(s) gained unauthorized access to an email account of an employee of Company B,

 and imposed a series of email rules for reading, moving, and forwarding emails within the

 employee's email inbox that closely mimicked the tactics ofthe co-conspirators' compromise of

 Employee-1 at Company H. Notably, the actor(s) set up rules to forward emails that referenced a

 banking term, error messages, and particular vendors to an account attributed to UMETI

 (jm.collins002@gmail.com). The employee's email account was then used to send emails that




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 deceived Company B's vendors into transferring approximately $400,385.84 to accounts

 specified by the co-conspirators from in or around October through November 2018.

        25.    In addition, on or about October 6, 2020, UMETI participated in a BEG scam in

 which an employee of a vendor for Company K was impersonated in emails to Company K that

 ultimately deceived Company K into transferring approximately $7,629 to a bank account

 specified by the co-conspirators. Notably, the correspondence listed a telephone number that

 was controlled by UMETI's VoIP Account-1.

                           Schemes to Defraud Companies C. D.and G

        26.     The FBI's investigation reveals that accounts associated with UMETI and his co-

 conspirators, including Okwonna, have also executed additional BEC schemes in furtherance of

 the aims oftheir conspiracy.

        27.     For instance, records obtained from Company G,Namecheap,and Yahoo

 collectively reveal that at least one co-conspirator participated in a BEC scam to defraud

 Company G from in or around September through in or around October 2019. As with other co-

 conspirator scams, a co-conspirator executed this scheme by gaining unauthorized access to the

 email account ofan employee at Company G and transmitting emails that ultimately deceived

 Company G into transferring approximately $25,426.08 to a bank account specified by the co-

 conspirators. Company G had intended to transfer the money to one of its vendors.

        28.     As part ofthe scheme,on or about October 4,2019, a co-conspirator used

 Namecheap Account-2 to register a spoof domain that mimicked the legitimate domain of

 Company G. Further, the co-conspirator account"invoice_s231@yahoo.com," which was

 previously used in the scheme to defraud Company E,transmitted malicious material to

 Company G email accounts, received internal emails from Company G that were forwarded from




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 the accounts without authorization, and tested email accounts hosted at the Company G spoof

 domain on the day (October 4,2019) it was used to impersonate individuals at Company G.

        29.    In addition, from March through April 2019, Okwonna participated in a BEC

 scam that deceived Company C into transferring approximately $109,308 to bank accounts

 specified by the co-conspirators. Company C had intended to transfer the funds to Company D.

 As part ofthe scheme, Okwonna used a different Namecheap account with the usemame

"holmeslOlO"(Namecheap Account-1 in the Indictment)to register two spoofed domains and

 host associated email accounts at those domains for the purpose of mimicking the legitimate

 domain and email accounts of Company D. Okwonna then caused email accounts hosted at the

 spoofed domains to transmit emails in April 2019 to one or more computers of Company C in

 the Eastern District of Virginia in which Okwonna impersonated an employee of Company D,

 and deceived Company C into changing the bank account information it used to transmit

 payment to Company D.

                           Scheme to Transmit Malware to Comnanv L


        30.    Records obtained pursuant to warrants to search co-conspirator Discord and

 Yahoo accounts, including UMETI's accounts, and the FBI's forensic analysis of a Company L

 device, collectively show that UMETI and co-conspirators transmitted malware to the computer

 of a Company L employee(Employee-5), gained unauthorized access to Company L's account,

 and stole thousands of Employee-5's intemal corporate emails.

        31.    As an initial matter, a warrant to search UMETI'sjm.collinsl00@yahoo.com

 account revealed that it included two folders that incorporated portions ofthe names of

 Employee-5 and Company L. A review ofthe folders revealed that it contained approximately




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 22,000 internal corporate emails that were forwarded without authorization from Employee-5's

 email account from between on or about August 7,2019 and on or about December 22,2020.

        32.     Further, a forensic examination of Employee-5's laptop reveals numerous

 instances in which compromised servers controlled by the co-conspirators were used to transmit

 malicious code in 2019 and 2020. For instance, on or about May 19,2020,Employee-5 received

 an email that purported to be a payment notification, but attached an Excel file named "Wells

 Fargo Remittance Advice.xlsm" that was designed to download a file available at a particular

 uniform resource locator(URL). That is notable because records received from Discord reveal

 that Co-Conspirator-1 provided this same URL to UMETI through Discord on or about May 10,
                                                                                            I




 2020. In addition, records from UMETI's eternal101#0438 Discord account reveal that he

 obtained login information for an apparently compromised email server on May 19,2020, and

 provided that information to Co-Conspirator-1 on or about May 20,2020. That server was then

 used to transmit an apparent phishing email to Employee-5 at Company L on or about May 21,

 2020 that purported to be a Citibank payment notification and an executable file. An analysis of

 that file, in turn, indicates that it caused malicious actions, including contacting a domain,

 "WorldwideTechSecurity.com," registered by Namecheap Account-2. On or about June 11,

 2020,a particular email server was also used to transmit phishing emails to both Company H,as

 described above, and Company L that purported to be a Wells Fargo payment notification, but

 contained an Excel attachment that was designed to download a file. The malware attachment

 listed the nickname of Co-Defendant-=3 as the document's usemame.


        33.     The FBI's forensic analysis of Employee-5's laptop also identified a nuniber of

 malicious files linked to the co-conspirators that remained on the device at the time of imaging.




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                                Additional Evidence of Conspiracy


        34.    Search warrant returns for email and Discord accounts associated with UMETI

 and Okwonna,among other accounts, reveal that they have long collaborated on computer

 hacking and BEC activities, as well as maintained a longstanding personal relationship. Further,

 as partially highlighted above. Discord chats, emails, domain registrar information,

 cryptocurrency transactions, and other information show that UMETI and Okwonna have

 collaborated with additional co-conspirators to include accounts that have been attributed to Co-

 Conspirator-1, Co-Conspirator-2, and Co-Defendant 3.

        35.     For instance, while UMETI played an instrumental role in executing the scheme

 to defraud Companies H,I and J, as detailed above,the forensic examination of Employee-I's

 laptop showed Okwonna transmitting a Facebook request to Employee-1 and Co-Conspirator-2
 accessing a type ofsurveillance program. Further, Discord chats from May 2020 reveal that Co-

 Conspirator-2 shared with Co-Conspirator-1 apparent credentials for a website that UMETI then

 used to host a piece of malware found on Employee-I's computer. Discord chats further show

 that UMETI sent Co-Conspirator-2 the apparent login credentials for email servers in May 2020

 that were used in apparent phishing emails to Company H and Company L in the same month.

 Similar collaboration is seen in the above-described schemes to defraud Companies A,E,and F.

        36.     Further, the FBI's investigation has uncovered substantial evidence of the

 co-conspirators sharing tools and information to further their efforts to gain unauthorized access

 to victim accounts and systems, and subsequently cause unauthorized wire transfers. As noted

 above, while BitPay records show that accounts associated with UMETI's "jm.collins" monikers

 sometimes funded Namecheap Account-2 to further BEC schemes, the account was actually

 registered with an email address that appears to have been controlled by Co-Conspirator.




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 Notably, records received from Discord revealed that Co-Conspirator-I's Discord account,

 which was registered with the registration email address for Namecheap Account-2, routinely

 corresponded with UMETI's etemall01#0438 Discord account and often appeared to reference

 UMETI(e.g., through the nickname "Ebus") in conversations with others as if he was a separate

 person. The chats between UMETI's etemall01#0438 Discord account and Co-Conspirator-1

 are notable because they often concemed matters relevant to defrauding corporate victims,

 including apparent domains, email addresses, usemames, and/or passwords for accessing the

 computer systems of approximately eight different companies.

        37.     Warrants to search the Discord accounts attributed to UMETI, Okwonna,and

 other co-conspirators, including Co-Defendant-3, as well as UMETI's etemallOl account on

 HackForums,further reveal substantial evidence ofthe co-conspirators discussing and

 collaborating on efforts to transmit phishing emails with malware to gain unauthorized access to

 victim systems. Frequent topics of discussion included (i) efforts to "spam" or "spread"(i.e., to

 distribute malware)to large groups of victims;(ii) share information about compromised

 accounts;(iii) purchase malware, such as remote access trojans or RATs,"Remote Control &

 Surveillance Software" or "Remcos";^ and other remote surveillance tools, macros for delivering

 the malware;(iv) obtain crypter services to obfuscate their malware from Co-Defendant-3,

 among others;'® and(v)efforts to deploy malware and circumvent anti-virus or email security




 ^ Remote Access Trojans," also known as "RATs," were malware that provide the capability to
 allow covert surveillance or the ability to gain unauthorized access to a computer. A "Remcos" or
 "Remote Control & Surveillance Software," was a particular type of RAT that could be used to
 control and monitor computers that used a Microsoft operating system.
   A "Crypter" software was a form of malware designed to encrypt, obfuscate, or otherwise
 manipulate their malware to reduce the chances that their malware would be detected and blocked
 by antivirus software or other security programs.


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 systems. Some exemplars ofthese discussions involving UMETI's eternal101#0438 Discord

 account and a Discord account attributed to Okwonna(holmesl010#1203) include:

                a.     In or around February 2020, Okwonna exchanged Discord private

 messages with Co-Defendant-3 to arrange for Co-Defendant-3 to transfer a crypter tool to

 Okwonna for a fee.


                b.      On or about April 20,2020, UMETI exchanged Discord private messages

 with Co-Defendant-3 in which he indicated that he received his contact information from the

 Discord usemame "HolmeslOlO" associated with Okwonna. As part ofthe introductory

 discussion, UMETI and Co-Defendant-3 discussed UMETI's use of Remcos rats, advised that

 his tools worked better on certain types ofsystems, provided instructions on how to use his tools,

 and cautioned against using Pastebin because "malware hunters are alwyas [sic] there looking for

 malware." A week later, UMETI confirmed that Co-Defendant-3's crypter was working well

 and that he was getting "mostly Win10 [machines]."

                c.     In April 2020, UMETI and Co-Defendant-3 exchanged Discord private

 messages in which Co-Defendant-3 agreed to crypt UMETI's"Remcos" malware for a fee,

 provided guidance on how to crypt the malware, and described updating the crypter for UMETI

 in response to the results of a scan through an antivirus software.

                d.      On or about May 1,2020, UMETI used Discord to refer Co-Conspirator-1

 to Co-Defendant-3 for the purposes of obtaining a crypter tool for"Remcos" malware.

                e.      On or about June 2,2020, UMETI and Co-Defendant-3 exchanged

 Discord private messages in which they agreed for Co-Defendant-3 to provide UMETI with

 licenses for a "crypter" and a "macro" that were suited to circumvent anti-virus software.




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                f.     On or about July 23,2020, UMETI and Co-Defendant-3 exchanged

 Discord private messages to negotiate a transaction in which Co-Defendant-3 agreed to provide

 UMETI with a private "macro" suited to circumventing a computer's anti-virus security software

 for a fee, along with an instructional video for using the malware.

                g.     On or about June 23,2020, Okwonna sent Discord private messages to

 Co-Conspirator 2 in which he provided information concerning approximately 28 to 30

 compromised devices in the United States to which he had gained unauthorized access through

 email phishing and the use of"Remcos" malware. Okwonna also sent a screenshot of his

 apparent"Remcos v.2.5.1 panel that depicts connections to approximately 43 devices, which is

 partially reflected below:

                                  ^ Remcos v2.5.1 Professional
                                     ® Connecttons(43) ^ PrcncySer
                                     Location         Assigned Name
                                  @United States      newest money
                                  ^United States .    newest money
                                  ^United States      newest money
                                  @United States...   newest money
                                  BUnSed States...    newest money
                                  ^United States... newest money


                h.      On or about July 23, 2020, UMETI and Co-Defendant-3 exchanged

 Discord private messages to negotiate a transaction in which Co-Defendant-3 agreed to provide

 UMETI with a private "macro" suited to circumventing a computer's anti-virus security software

 for a fee, along with an instructional video for using the malware.

                i.      In August 2020, Co-Defendant-3 and Okwonna exchanged Discord

 private messages to negotiate a transaction in which Co-Defendant-3 agreed to renew

 Okwonna's crypter tool for a fee.




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               j.     In June 2021, UMETI and Co-Defendant-3 exchanged Discord private

 messages to arrange for UMETI to purchase multiple licenses for Co-Defendant-3's "macro" and

"crypter" for UMETI and for others.

        38.    An examination of chats involving the Discord accounts of UMETI's co-

 conspirator, including Okwonna, Co-Conspirator-1, and Co-Conspirator-2, reveal many

examples ofthem alluding to his advice and actions as "eternal,""ebuka," or "ebus," including:

               a.      Between January and August 2020, Okwonna, using holmes1010#1203,

 and Co-Conspirator-2 exchanged large numbers of private Discord messages about malware

tools endorsed or checked by "ebuka" or "ebus"(UMETI),the acquisition of macros,spamming

 or "shoot[ing]," and efforts to assist each other. Among other things, Okwonna described

sending apparent phishing emails to approximately 250 business accounts at a time in April.

               b.      On or about June 16,2020, Co-Conspirator-2 exchanged Discord private

 messages with Co-Defendant-3 in which he explained how he was spamming or spreading

 malware to an email list. In relevant part, Co-Conspirator-2 explained that"7ofus spreading to

 the same people,, and most ofthem use you,,[moniker ofCo-Conspirator-l], holmes

[Okwonnajf eternal[UMETI], (Emphasis added). Co-Defendant-3 then said, ^yeah i know

 those dudes. (Emphasis added).

               c.      Between in or around May and August 2020, Co-Conspirator-1 and Co-

 Conspirator-2 exchanged Discord messages in which they discussed spamming victims, macros,

 and using smtp servers and RATs,such as Remcos. As part ofthe discussions, they often

 referenced software or contacts that UMETI had approved or recommended (e.g., as "ebuka" or

"ebus"). For instance, on or about May 6,2020, the co-conspirators discuss sending "boxes"—




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 i.e., compromised email accounts—^to "ebus," and they agree to "bomb" the "AR/AP"—i.e.,

 account receivable/account payable—contacts from the compromised accounts.

        39.    The FBI's investigation has also identified several additional sources of evidence

 that highlight the close collaboration amongst UMETI,Okwonna,and others in furtherance of

 the scheme include. For instance, records received from BitPay and the FBI's analysis ofthe

 blockchain'^ reveal evidence that both Namecheap Account-2(used in the schemes targeting

 Companies E,F, G,H,I, and J) and Namecheap Account-1 (used in the scheme targeting

 Companies C and D)were financed through Bitcoin addresses that may be traced back to a

 common wallet in 2019.

        40.    The FBI's investigation also indicates that Okwonna controlled a Google account

 associated with the email address "hawlalalam.ali@gmail.com" to harvest credentials, conduct

 other BEC-related activity, and correspond with other co-conspirators, including UMETI. For

 instance, records obtained through warrants on UMETrsjm.collinslOO@yahoo.com account and

 Okwonna's hawlalalam.ali@gmail.com account, respectively, show that both accounts stored

 historic emails with the common subject"FWESHBOIZINC!"that listed apparent usemame,

 password, and IP address information that appeared suited to gaining unauthorized access to

 victim accounts. Based on the volume ofemails, the common subject, and my training and

 experience, it appears that, at different points, both UMETI and Okwonna shared a common

 source for harvesting credentials for accessing victim accounts or computers.

        41.     Records obtained pursuant to email warrants further showed that, between on or

 about February 29,2016 through on or about November 1, 2017, Okwonna's


   The blockchain is a publicly available digital ledger that tracks cryptocurrency transactions.
 Cryptocurrency transactions are processed in blocks, which are then added to the chain, hence the
 term blockchain.



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 hawlalalam.ali@gmail.com account sent emails to accounts controlled by UMETI,including

jm.collinslOO@yahoo.com,that, in my training and experience, appear to contain templates for

 fraud or email phishing scams.

        42.     Additional accounts attributed to UMETI and Okwonna reveal substantial

 evidence oftheir longstanding personal relationship, including evidence ofthe two traveling and

 posing for photographs together, as well as sharing sensitive personal information. Indeed, an

 iCloud account attributed to Okwonna,"franklin_franklin@icloud.com," contained photographs

 of passports and visas for both UMETI and Okwonna. In addition, another Google account

 attributed to UMETI,"etemall502@gmail.com," contained bank statements for "Ebuka Raphael

 Umeti"from the Guaranty Trust Bank PLC that showed multiple bank transfers to Okwonna,

 including two transfers to Okwonna in or around May 2020- e.g., near the time ofthe BEC

 scheme to defraud Companies H,I and J.

                                    Identification of UMETI


        43.     As further detailed below,the FBI's investigation indicates that UMETI

 committed the acts attributed to him above through Namecheap Account-2, VoIP Account-1, and

 a large number of additional accounts associated with his distinctive "jm.collins" and "etemal"
 online monikers. These accounts contained some evidence of UMETI's identity and ultimately

 led to the identification oftwo Google accounts, etemall502@gmail.com and

 ebukal502@gmail.com, that provided strong confirmation of UMETI's real identity.

                UMETI's Distinctive Use of"Jm.Collins" and "Etemal" Monikers

        44.     Based on my training and experience,I understand that cybercriminals often use

 common usemame or variations on a common usemame to build and maintain their reputations

 amongst other hackers. I am further aware that individuals engaged in criminal cyber activity



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 commonly create multiple email accounts to better disguise their activity. These accounts are

 often used to register online accounts on websites and other platforms associated with criminal

 activity, retain control over the online accounts in the event access to it is compromised or

 otherwise interrupted (e.g., forgotten password), receive notifications regarding the use ofthe

 online accounts, and correspond with co-conspirators. Due to the intended use ofsuch

 originating email accounts,the offender generally maintains sole control over the account or

 utilizes the account with others engaged in the same or similar misconduct.

        45.     Here, records lawfully obtained from Namcheap, Dingtone, Google, Yahoo,

 HackForums, Discord, and GitHub^^ indicate that a common actor—UMETI—^used a range of

 accounts that are linked together through a number of ways, including the shared associations

 with the distinctive "jm.collins" and "eternal" online monikers. These accounts include

 Namecheap Account-2, VoIP Account-1,jm.collinslOO@yahoo.com,

 jm.collinsOO 1@protonmail.com,jm.collins200@icloud.com, and jm.collins002@gmail.com,the

 etemallOl HackForums account,the eternal101#0438 Discord account, and a GitHub account

 associated with the usemame "eternal1502."


        46.     As an initial matter, each ofthese accounts either employed the distinctive

 "jm.collins" moniker or can been directly tied to an account with the "jm.collins" moniker. For

 instance, records from Namecheap and BitPay reveal that the user ofthe email addresses

 jm.collinslOO@yahoo.com andjm.collins001@protonmail.com paid for domains registered

 through Namecheap Account-2 in 2019 and 2020, including the spoof domain that was used in

 the scheme to defraud Companies H,1 and J. VoIP account-1 was registered with

 jm.collins200@icloud.com. The recovery email address forjm.collinslOO@yahoo.com was



   Github is a U.S.-based Internet hosting service for software development.


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jm.collins001@protonmail.com, andjm.collinslOO@yahoo.com was the registration email

 address for the etemallOl HackForums account,the etemall01#0438 Discord account, and the

 eternal1502 GitHub account.'^

       47.     The accounts also included additional substantive links. For instance, records

 received from Yahoo concerning thejm.collinslOO@yahoo.com account revealed that, on or

 about July 11,2019,thejm.collinslOO@yahoo.com account sent an email to

jm.c6llins002@gmail.com in an apparent effort to test a spoof domain for Company E. As

 detailed above,that email was notable because the Company E spoof domain was registered by

 Namecheap Account-2 and used in the BEC scam to defraud Company E. Further, in or around

 February 2019,thejm.collinslOO@yahoo.com account transmitted apparent phishing emails to

 an employee of Company A that listedjm.collins002@gmail.com as a recipient.

        48.    The accounts also discussed common techniques and activities. For instance,

 both the etemallOl Hack Forums and etemall01#0438 Discord accounts routinely discussed the

 acquisition and use of certain classes of malicious computer tools. The etemallOl Hack Forums

 account and etemall502 GitHub account both posted about the topic of a technique known as

 "VBS obfuscation" in the timeframe ofon or about June 16 and 17,2016.

        49.    Login records from these various accounts further indicate that they appear to be

 controlled by a common actor. For instance, on or about August 19,2020 and October 28,2020,

 Namecheap Account-2 and thejm.collinslOO@yahoo.com account were both accessed from a

 common IP address. The same IP address also accessed both Namecheap Account-2 and the




   In my training and experience, a recovery or registration email provides a means for retaining
 control over a primary account in the event that access to it is compromised or otherwise
 intermpted (e.g., password).


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 eternal101 Hack Forums account on or about March 12,2020.'"^ Similarly, login data reveals

 that the etemallOl HackForums account and the eternal!502GitHub account were both accessed

 from another common IP address on or about June 16,2016.

        50.    The Namecheap Account-2, eternal1502 GitHub account, and co-conspirator

 Discord accounts also contained evidence of UMETI's identity. Notably, records received from

 Namecheap concerning Namecheap Account-2 revealed a log file titled

"awstatsl 12020.achremittanceservices.com.txt." This log file contained, among other data, error

 notifications concerning the domain achremittanceservices.com that listed entries that

 referenced, among other names, UMETTs first name "Ebuka," a variation on UMETI's middle

 name "Rapheal,"^^ and the "collins" moniker. Some ofthe entries include:

               /ADP/mod_ebuka/
               /Excel/ebuka/
               /Excel/mod_ebuka/
               /ADP/ebuka/
               /Excel/Ebuka/
               /ADP/Ebuka/
               /ADP/rapheal/
               /Excel/rapheal/
               /Excel/~collinsw/
               /ADP/collins/
               /ADP/collins/admin.php
               /Excel/collins/
               /ADP/~collinsw/
               /Excel/collins/admin.php




   In my training and experience, logins into multiple accounts from a common IP address around
 the same dates and times likely indicates that they were accessed from a common device or
 network.

   The word "Rapheal" transposes the "e" and "a"from UMETI's formal middle name "Rapheal."
 However, records from the etemall502@gmail.com revealed that UMETI used the names
 "Raphael" and "Rapheal" interchangeably.



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        51.    In addition, within one ofthe etemail502 GitHub account's posts on or about

 June 20,2016, eternal1502 provided a screenshot of a computer terminal screen that displayed a

 Windows command prompt with the filepath "C:\Users\Raph>". As noted above, UMETI's

 middle name is Raphael.

        52.    Further, as noted above. Discord private messages sent by Okwonna and Co-

 Conspirator-1 in 2020 sometimes referenced malware or computer-related recommendations or

 endorsements provided by "ebuka." As noted above, UMETI's first name is "Ebuka."

                            Additional Evidence of UMETI's Identitv

        53.    The FBI's analysis of these accounts, including the eternal1502 GitHub account,

 ultimately led to the identification ofthe etemall502@gmail.com and ebukal502@gmail.com

 accounts. Records lawfully obtained from Google conceming these accounts revealed

 substantial evidence of UMETI's identity. For instance, a Google payments account in

 UMETI's full name of"Ebuka Raphael Umeti" was listed as a related service for the

 etemall502@gmail.com account. The account also showed multiple emails that referenced the

 UMETI identity. For example, on or about November 20,2020,the etemall502@gmail.com

 account sent an email that attached a photograph of a college degree that was awarded to "Umeti

 Ebuka Raphael" from Anambra State University, in Uli Ihiala, Nigeria on or about February 29,

 2012. Further, on or about May 8,2019,the etemall502@gmail.com sent itself an email that

 attached an application for a Schengen Visa that listed the full name ofEbuka Raphael UMETI,

 date of birth "15/02/1989", place of birth "Ihiala, Nigeria." The birthdate is notable because,

 among other things, its date-month formulation (15/02)corresponds to the "1502" moniker used

 by UMETI,including the etemall502 GitHub account, etemall502@gmail.com account, and

 ebukal502@gmail.com account.




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        54.    The eternal1502@gmaii.com Google account and UMETI's identification

information tie UMETI directly to accounts involved in the above-described criminal activity.

For instance, the etemall502@gmail.com account and VoIP account-1 were both accessed from

a common IP address(41.190.14.204) within mere minutes of each other on or about September

4,2020.

        55.    A warrant to search an account(franklin_franklin@icloud.com) of one of

UMETTs co-conspirators, Okwonna,also revealed a photograph of UMETI's Nigerian passport

that contained his name and birth information. As noted below, UMETI was in possession ofthe

same passport at the time of his arrest at the Jomo Kenyatta International Airport.

                                           Risk of Flight


        56.    The FBI's investigation indicates that UMETI is a significant flight risk. As the

above-described BEC scams highlight, UMETI has a long history of possessing stolen identity

information and a demonstrated capacity to effectively present himself as someone else.

 Accordingly, it is reasonable to expect that UMETI would attempt to flee under fake or stolen

identities. UMETI also has the means to travel. Indeed, the FBI has received information

indicating that'UMETI has routinely traveled abroad in recent years, including to the Maldives,

Zanzibar in Tanzania, and Qatar, among other places. Accounts attributed to UMETI and

 Okwonna also contained evidence of visa applications to authorize travel to France, Germany,

and the United Arab Emirates. In my experience, the seriousness ofthe penalties that UMETI

could face, if convicted, also creates a strong incentive to flee.

                   IDENTIFICATIONAND LOCATION INFORMATION

        57.    EBUKA RAPHAEL UMETI,also known as Ebuka Rapheal Umeti, and

 variations on the online monikers or nicknames "jm.collins""etemal," and "ebus," is a citizen of

Nigerian bom on Febmary 15,1989 in Ihiala, Nigeria. He is described as a black male with


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 black hair and brown eyes. He holds a Nigerian passport, number AXXXXXXXX, issued on April

25,2019. He was arrested on June 11,2023 at the Jomo Kenyatta International Airport and has

 been detained pending extradition proceedings.

        58.    Attached to this affidavit as Attachment 1 is a copy of UMETI's passport,

 obtained from him following his arrest in Kenya. Julius F. Nutter, FBI Assistant Legal Attach^,

 U.S. Embassy Nairobi,to Kenya, was present at UMETI's arrest and can identify this

 photograph as being that of UMETI.




                                          SCOTT W.NICKERSON
                                          FEDERAL BUREAU OF INVESTIGATION



 SWORN AND SUBSCRIBED BEFORE ME
 THIS 20TH DAY OF JUNE,2023.




 HON. WILLIAM E. FITZPATRICK
 UNITED STATES MAGISTRATE JUDGE
 EASTERN DISTRICT OF VIRGINIA




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                        Photograph of Ebuka Rapael UMETI


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